           Case 7:17-cv-01114-RDP Document 215 Filed 09/13/21 Page 1 of 3                                 FILED
                                                                                                 2021 Sep-13 PM 04:05
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     WESTERN DIVISION

    MICHAEL W. RONDINI, et al.,                    )
                                                   )
            Plaintiffs,                            )
                                                   )
     v.                                            )   Case No.: 7-17-cv-01114-RDP
                                                   )
     TERRY J. BUNN, JR.,                           )
                                                   )
            Defendant.                             )

            PLAINTIFF’S ITEMIZED LIST OF DAMAGES SOUGHT AT TRIAL

          COMES NOW, the Plaintiff, Michael W. Rondini, by and through undersigned counsel,

and pursuant to the Amended Scheduling Order agreed upon by the parties (Doc. 200), submits

the following itemized list of damages and equitable relief being sought at the trial:

          1. Punitive damages. Pursuant to Alabama’s Wrongful Death Act, a Plaintiff can only

             “recover punitive, but not compensatory damages.” Roe v. Michelin N. Am., Inc., 613

             F.3d 1058, 1060 (11th Cir. 2010). Because Plaintiff’s suit against Defendant is for the

             wrongful death of Megan Rondini, Plaintiff only seeks punitive damages in the amount

             of $50,000,000.00 at the trial in the above-styled case.

                                                                             Respectfully submitted,

                                                                               /s/ Leroy Maxwell, Jr.
                                                                                   Leroy Maxwell, Jr.
                                                                            Attorney for the Plaintiff

                                                                               Leroy Maxwell, Jr.
                                                                        Maxwell Tillman Law Firm
                                                                            2326 2nd Avenue North
                                                                           Birmingham, AL 35203
                                                                            Phone: (205) 216-3304
                                                                               Fax: (205) 409-4145
                                                                         maxwell@mxlawfirm.com




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OF COUNSEL:

/s/ Austin T. Russell
Austin T. Russell
Attorney for Plaintiff

Austin T. Russell
Maxwell Tillman Law Firm
2326 2nd Avenue North
Birmingham, AL 35203
Phone: (205) 216-3304
Fax: (205) 409-4145
arussell@mxlawfirm.com

/s/ Julie E. Heath
Julie E. Heath
Attorney for Plaintiff

Julie E. Heath
Farrow-Gillespie Heath Witter, LLP
1700 Pacific Avenue South Suite 3700
Dallas, Texas 75201
Phone: (214) 361-5600
Fax: (214) 203-0651
Julie.heath@fghlaw.com


                                CERTIFICATE OF SERVICE

        I hereby certify that I have electronically filed the foregoing with the Clerk of the Court
using the CM/ECF system on this 13th day of September 2021, serving the following individuals:


       Richard E. Smith
       Christian & Small, LLP
       505 North 20th Street Suite 1800
       Birmingham, AL 35203
       Phone: (205) 795-6588
       Fax: (205) 328-7234
       resmith@csattorneys.com




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Rachel J. Moore
Christian & Small, LLP
505 North 20th Street Suite 1800
Birmingham, AL 35203
Phone: (205) 795-6588
Fax: (205) 328-7234
rjmoore@csattorneys.com

W. Ivey Gilmore, Jr.
Gilmore, Poole & Rowley
1905 7th Street
Tuscaloosa, AL 35041
Phone: (205) 752-8338
Fax: (205) 686-1516
gilmore@gilmorerowley.com

Laura J. Crissey
Gilmore, Poole & Rowley
1905 7th Street
Tuscaloosa, AL 35041
Phone: (205) 752-8338
Fax: (205) 686-1516
Lcrissey@gilmorerowley.com

                                                    /s/ Leroy Maxwell, Jr.
                                                        Leroy Maxwell, Jr.
                                                     Attorney for Plaintiff




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